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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                MIAMI DIVISION

                                CASE NO. 08-20926-CIV-ALTONAGA/BROWN

  OSCAR CORTES,

          Plaintiff,

  v.

  LINDA SWACINA, DISTRICT
  DIRECTOR, UNITED STATES CITIZENSHIP &
  IMMIGRATION SERVICES, MIAMI
  DISTRICT, AND ROBERT S. MUELLER, III,
  DIRECTOR, FEDERAL BUREAU OF
  INVESTIGATION,

        Defendants.
  __________________________________________/

                  NOTICE OF AGREEMENT CONCERNING THE AMOUNT OF
                             ATTORNEY’S FEES AND COSTS

          Plaintiff, by and through counsel, responds to the Court’s November 10, 2008 Order

  awarding attorney’s fees and costs to Plaintiff by advising the Court that the parties conferred

  and reached agreement concerning the amount in attorney’s fees and costs Defendants shall pay

  to Plaintiff.

                                                Respectfully submitted,

                                                s/Stephen M. Bander
                                                Stephen M. Bander (Florida Bar No. 0160679)
                                                Attorney E-mail address: stephen@bandervisa.com
                                                BANDER & ASSOCIATES, P.A.
                                                444 Brickell Avenue, Suite 300
                                                Miami, Florida 33131
                                                Telephone: (305) 358-5800
                                                Fax: (305) 374-6593
                                                Attorney for Plaintiff Oscar Cortes


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  Dated: November 24, 2008, Miami, Florida.

                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 24, 2008, I, Stephen M. Bander, attorney for the

  Plaintiff, electronically filed the foregoing document with the Clerk of the Court using CM/ECF.

  I also certify that the foregoing document is being served this day on Charles S. White, Assistant

  U.S. Attorney, Southern District of Florida, via transmission of Notice of Electronic filing

  generated by CM/ECF.

                                                       s/Stephen M. Bander
                                                       Stephen M. Bander




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